    Case 21-14934-KCF         Doc 48 Filed 09/19/21 Entered 09/20/21 00:13:48                      Desc Imaged
                                   Certificate of Notice Page 1 of 4

        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY

        Caption in Compliance with D.N.J. LBR 9004-1(b)

                                                                               Order Filed on September 17, 2021
                                                                               by Clerk
                                                                               U.S. Bankruptcy Court
                                                                               District of New Jersey




                                                                      Case No.:       21-14934
                                                                                      _____________________
        In Re:
        Dukat, LLC                                                    Chapter:            11 (Small Business
                                                                                          Subchapter V)

                                                                      Judge:           Kathryn C. Ferguson
                                                                                       _____________________



             ORDER SETTING DEADLINES AND SCHEDULING CONFIRMATION HEARING


                 The relief set forth on the following page is ORDERED.




DATED: September 17, 2021




                                                        1
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                                                                        Dukat, LLC
               This matter having been opened to the Court by_________________________________, Debtor,
       upon the filing of a Small Business Plan pursuant to Subchapter V of Chapter 11; it is

                 ORDERED, and notice is hereby given, that:

               A. Within 3 days after the entry of this Order, the Plan, a ballot conforming to Official Form 314,
                   and a copy of this Order must be served on creditors, equity security holders, and other parties
                   in interest by the Debtor, and shall be transmitted to the Subchapter V trustee and to the United
                   States Trustee.

                  October 21, 2021
               B. ____________________________ is fixed as the last day for filing and serving written
                   objections to confirmation of the Plan.

                  October 21, 2021
               C. ____________________________ is fixed as the last day for voting to accept or reject the Plan
                   under D.N.J. LBR 3018-1(a).

                                                   October 28, 2021
               D. A hearing will be scheduled for ________________________________________________ at
                   2:00 p.m.
                   ________________________for         confirmation    of   the   Plan   before   the    Honorable
                   _________________________________________,
                   Kathryn C. Ferguson                        United States Bankruptcy Court, District
                                   402 East State Street, Trenton, NJ 08608
                   of New Jersey, _______________________________________________________________,
                                2
                   in Courtroom ______.




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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 21-14934-KCF
Dukat, LLC                                                                                                             Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 17, 2021                                               Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 19, 2021:
Recip ID                 Recipient Name and Address
db                     + Dukat, LLC, c/o On Spec, 95 Newfield Avenue, Suite H, Edison, NJ 08837-3824

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 19, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 17, 2021 at the address(es) listed
below:
Name                               Email Address
Anthony J D'Artiglio
                                   on behalf of Defendant Tarvisium Holdings LLC ajd@ansellgrimm.com, courtfilings@ansellgrimm.com;jb@ansellgrimm.com

Anthony J D'Artiglio
                                   on behalf of 3rd Party Plaintiff 45N12E LLC ajd@ansellgrimm.com, courtfilings@ansellgrimm.com;jb@ansellgrimm.com

Anthony J D'Artiglio
                                   on behalf of Creditor Tarvisium Holdings LLC ajd@ansellgrimm.com, courtfilings@ansellgrimm.com;jb@ansellgrimm.com

Anthony J D'Artiglio
                                   on behalf of 3rd Party Plaintiff Tarvisium Holdings LLC ajd@ansellgrimm.com,
                                   courtfilings@ansellgrimm.com;jb@ansellgrimm.com

Anthony J D'Artiglio
                                   on behalf of Defendant 45N12E LLC ajd@ansellgrimm.com, courtfilings@ansellgrimm.com;jb@ansellgrimm.com

Anthony J D'Artiglio
      Case 21-14934-KCF            Doc 48 Filed 09/19/21 Entered 09/20/21 00:13:48                                        Desc Imaged
                                        Certificate of Notice Page 4 of 4
District/off: 0312-3                                       User: admin                                                             Page 2 of 2
Date Rcvd: Sep 17, 2021                                    Form ID: pdf903                                                        Total Noticed: 1
                          on behalf of Creditor 45N12E LLC ajd@ansellgrimm.com, courtfilings@ansellgrimm.com;jb@ansellgrimm.com

David Edelberg
                          on behalf of Creditor Brian Schwartz dedelberg@sh-law.com edelbergdr82964@notify.bestcase.com

David Edelberg
                          on behalf of 3rd Pty Defendant Ben Schwartz dedelberg@sh-law.com edelbergdr82964@notify.bestcase.com

David Edelberg
                          on behalf of Creditor 36Lower Inc. dedelberg@sh-law.com, edelbergdr82964@notify.bestcase.com

David Edelberg
                          on behalf of 3rd Pty Defendant 36Lower Inc. dedelberg@sh-law.com, edelbergdr82964@notify.bestcase.com

David H. Stein
                          on behalf of Debtor Dukat LLC dstein@wilentz.com, ciarkowski@wilentz.com

David H. Stein
                          on behalf of Plaintiff Dukat LLC dstein@wilentz.com, ciarkowski@wilentz.com

Joshua S. Bauchner
                          on behalf of Creditor 45N12E LLC jb@ansellgrimm.com, courtfilings@ansellgrimm.com;ajd@ansellgrimm.com

Joshua S. Bauchner
                          on behalf of Creditor Tarvisium Holdings LLC jb@ansellgrimm.com, courtfilings@ansellgrimm.com;ajd@ansellgrimm.com

Joshua S. Bauchner
                          on behalf of Defendant 45N12E LLC jb@ansellgrimm.com, courtfilings@ansellgrimm.com;ajd@ansellgrimm.com

Joshua S. Bauchner
                          on behalf of Defendant Tarvisium Holdings LLC jb@ansellgrimm.com, courtfilings@ansellgrimm.com;ajd@ansellgrimm.com

Margaret Mcgee
                          on behalf of U.S. Trustee U.S. Trustee maggie.mcgee@usdoj.gov

Mark Politan
                          mpolitan@politanlaw.com

Mark Politan
                          on behalf of Trustee Mark Politan mpolitan@politanlaw.com

Ronald L. Daugherty
                          on behalf of Creditor Interline Brands Inc. dba Hardware Express rdaugherty@srstlaw.com

Seth Michael Rosenstein
                          on behalf of Creditor 45N12E LLC smr@ansellgrimm.com, courtfilings@ansellgrimm.com;DeborahKB@ansellgrimm.com

Seth Michael Rosenstein
                          on behalf of Defendant Tarvisium Holdings LLC smr@ansellgrimm.com,
                          courtfilings@ansellgrimm.com;DeborahKB@ansellgrimm.com

Seth Michael Rosenstein
                          on behalf of Creditor Tarvisium Holdings LLC smr@ansellgrimm.com,
                          courtfilings@ansellgrimm.com;DeborahKB@ansellgrimm.com

Seth Michael Rosenstein
                          on behalf of Defendant 45N12E LLC smr@ansellgrimm.com, courtfilings@ansellgrimm.com;DeborahKB@ansellgrimm.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 25
